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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

UNITED STATES OF AMERICA                  )
                                          )
                     v.                   )      No. 2:01 CR 98
                                          )
BOBBY SUGGS                               )

                            ORDER REDUCING SENTENCE

       Defendant Bobby Suggs, through counsel, has moved for a sentence reduction

pursuant to 18 U.S.C. § 3582 and the First Step Act of 2018, H.R. 5682, 115th Cong. (Dec.

21, 2018). (DE # 1527.) For the reasons set forth below, the motion is granted to the

extent described in this order.

I.     BACKGROUND

       Defendant Bobby Suggs participated in, and eventually led, a drug trafficking

conspiracy out of a government housing complex in Gary, Indiana, in the late 90s.

United States v. Suggs, 374 F.3d 508, 512 (7th Cir. 2004). Defendant was associated with

the Vice Lords street gang, sold extensive quantities of crack, and used violence to

further and protect the gang’s operation. Id. at 512-14.

.      Defendant was ultimately charged for his role in the conspiracy. After a trial over

which the undersigned presided, a jury found defendant guilty of Count 1, which

alleged conspiracy to distribute 50 grams or more of crack cocaine and carried a

statutory penalty of 10 years to life imprisonment, plus a minimum of 5 years of

supervised release. 21 U.S.C. § 841(b)(1)(A). Defendant was also convicted of possession
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with intent to distribute marijuana (Count 33), and 3 counts of using a telephone to

facilitate a drug-trafficking crime (Counts 29, 30, and 32).

       At sentencing, the court found defendant responsible for 17.1 kilograms of crack

cocaine and 36.1 kilograms of marijuana. (DE # 1560 at 2.) As a result, the total offense

level on Count 1 was 46, and his guidelines range was life imprisonment. The court

sentenced defendant to a term of life on Count 1, and 48 months on Counts 29, 30, 32,

and 33, all to run concurrent with each other and the term for Count 1. (Id.)

       In 2011, defendant sought a reduction in his sentence due to an amendment to

the Sentencing Guidelines but the court denied this motion, finding defendant ineligible

for relief because his guidelines range remained life imprisonment even in light of the

amendment. (DE # 1196.) This decision was upheld by the Seventh Circuit Court of

Appeals. (DE # 1320.)

       Defendant now seeks a reduction in his sentence under the First Step Act. (DE

# 1527.) The Government opposes the motion. (DE # 1528.) The motion is fully briefed

and ripe for ruling.

II.    ANALYSIS

       The First Step Act of 2018 independently authorized a district court to resentence

eligible defendants as if the statutory penalties of the Fair Sentencing Act of 2010, Pub.

L. No. 111-220, S. 1789, 111th Cong. (Aug. 3, 2010), were in effect at the time of the

original sentencing. The purpose of the First Step Act was “to address the disparities

between sentences for crack and powder cocaine.” United States v. Shaw, 957 F.3d 734,


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735 (7th Cir. 2020). The parties agree that defendant is eligible for First Step Act relief on

Count 1. The court now considers whether a reduction in defendant’s sentence is

appropriate as to this count.

       The court first considers the advisory Sentencing Guidelines range applicable to

defendant, as well as the effects the Fair Sentencing Act had on the statutory penalties

applicable to defendant. Defendant’s guidelines range for Count 1, even post-Fair

Sentencing Act, would be life imprisonment. (DE # 1560 at 3.) However, the Fair

Sentencing Act shifts the applicable statutory penalty from 10 years - life, to 5 - 40 years.

21 U.S.C. § 841(b)(1)(B) & 960(b)(2). Therefore, the guidelines range for Count 1

becomes the statutory maximum: 40 years. U.S.S.G. § 5G1.1.

       As recommended by Shaw, 957 F.3d at 741-42, the court also considers

defendant’s pre-sentence and post-sentence conduct, including but not limited to the

relevant factors in 18 U.S.C. § 3553(a), in deciding how to exercise its discretion in

response to defendant’s request. The court’s prior consideration of the Section 3553(a)

factors at sentencing remains valid. The court has considered that defendant operated

as the leader of a serious, complex, and long-term drug conspiracy. The conspiracy

began in 1994 and ended in 2001, with at least 18 individuals participating. Suggs, 374

F.3d at 513. Defendant and his brother Seantai posessed 11 firearms. United States v.

Davis, 682 F.3d 596, 603-04 (7th Cir. 2012). Defendant was affiliated with a gang during

the conspiracy. Suggs, 374 F.3d at 514. And, as previously noted, the conspiracy

involved a significant amount of crack. The circumstances surrounding defendant’s


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crimes call into question whether defendant would contribute to society as an

upstanding citizen and not constitute a danger to society upon release. The court is also

cognizant that continued incarceration may have deterrent value, both for defendant

and for others.

       The court has also considered defendant’s argument that he has completed

numerous classes, has enrolled in a GED program, and has made significant efforts

towards rehabilitation while incarcerated. (DE # 1527 at 16-63.) Further, the court

acknowledges that defendant has had only 2 disciplinary infractions during his 20 years

in custody, despite being subject to a life sentence the entire time. (DE # 1560 at 3.)

These infractions were non-violent in nature (possession of a contraband cellphone and

giving/accepting money without authorization). (Id.)

       In light of all of these considerations, the court finds that reducing defendant’s

sentence from life imprisonment to the guidelines range of 40 years is appropriate. This

sentence comports with the First Step Act, as it does not exceed the post-Fair Sentencing

Act statutory maximum applicable to defendant’s crack charge. This sentence further

acknowledges the severity of the charged crimes and defendant’s role as a leader of a

major drug conspiracy. Even though the court has the discretion to go lower than the

guidelines range, it declines to do so because defendant’s achievements and positive

progress during incarceration do not outweigh the seriousness of his crimes, his

leadership role, and the need for deterrence. Finally, although the court is not required

to compare defendant’s sentence with that of co-defendants, United States v. Solomon,


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892 F.3d 273, 278-79 (7th Cir. 2018), the court notes that sentencing defendant to a 40-

year term of incarceration, the guidelines range applicable to defendant, furthers the

interest of avoiding unwarranted sentencing disparities, as co-defendants Aaron Davis

and Seantai Suggs are presently serving guidelines sentences at the low end of their

respective ranges. United States v. Suggs, 846 F. App’x 419, 421 (7th Cir. 2021) (affirming

the court’s ruling on Seantai Suggs’s First Step Act motion and rejecting his argument

that disparity existed between his low-end guidelines sentence and Aaron Davis’s low-

end guidelines sentence).

       In accordance with the Fair Sentencing Act, the court also modifies defendant’s

term of supervised release as follows: defendant is sentenced to a 4-year term of

supervised release on Count 1.

       Finally, the court denies any request by defendant to be physically present for a

hearing on the present motion. United States v. Cooper, 803 F. App’x 33, 35 (7th Cir. 2020)

(declining to find plain error in not holding a resentencing hearing on a First Step Act

motion, noting that “nothing in § 404 [of the First Step Act] plainly requires the district

court to hold any sort of hearing at all”).

III.   CONCLUSION

       For the foregoing reasons, the court GRANTS defendant’s motion for

resentencing under the First Step Act (DE # 1527) as follows: defendant’s term of

imprisonment on Count 1 is reduced from life imprisonment to 480 months (to run

concurrently with the other terms of imprisonment), and defendant’s term of


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supervised release is reduced from 5 years to 4 years on Count 1. However, if the term

of imprisonment is less than the amount of time defendant has already served, the term

of imprisonment is reduced to time served. Except as provided herein, all provisions of

the original and amended judgments shall remain in effect.

       This order is effective immediately; however, if this order reduces the

defendant’s sentence to time served, RELEASE OF THE DEFENDANT IS STAYED

but only for the time period necessary for the Bureau of Prisons to accomplish the

following tasks required by law, which period MAY NOT EXCEED ten (10) days from

the date this order is entered on the docket: (1) to permit adequate time to collect DNA

samples from the defendant (42 U.S.C. § 14135a); (2) to notify victims and witnesses (18

U.S.C. § 3771); (3) where applicable, to notify law enforcement officials of release of a

violent offender and notify sex offender registration officials of release of a sex offender

(18 U.S.C. § 4042 (b) & (c)); and (4) where applicable, to review defendant for possible

civil commitment as a sexually dangerous person (18 U.S.C. § 4248).

                                          SO ORDERED.

       Date: August 25, 2021
                                          s/James T. Moody
                                          JUDGE JAMES T. MOODY
                                          UNITED STATES DISTRICT COURT




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